Case 8:17-cv-02100-VMC-JSS Document 52 Filed 11/08/17 Page 1 of 4 PageID 612




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

   JOHAN SEBASTIAN ALZAT CALIXTO,

                 Petitioner,
   v.                                         Case No. 8:17-cv-2100-T-33JSS

   HADYLLE YUSUF LESMES,

             Respondent.
   _____________________________/

                                        ORDER

         This matter is before the Court on consideration of

   United States Magistrate Judge Julie S. Sneed’s Report and

   Recommendation     (Doc.     #    49),     filed   on   October    19,     2017,

   recommending that Petitioner Johan Sebastian Alzat Calixto’s

   Verified Petition for Return of the Child to Colombia (Doc. #

   6) be denied.       Petitioner filed a timely objection to the

   Report and Recommendation (Doc. # 50) on October 30, 2017.

   Respondent Hadylle Yusuf Lesmes filed a Response to the

   Objection on November 7, 2017. (Doc. # 51).               As stated below,

   the   Court    adopts    the      Report    and    Recommendation     of     the

   Magistrate Judge and overrules the filed objection.

   Discussion

         After conducting a careful and complete review of the

   findings and recommendations, a district judge may accept,

   reject   or     modify      the     magistrate      judge’s       report     and

   recommendation. 28 U.S.C. § 636(b)(1); Williams v. Wainwright,
Case 8:17-cv-02100-VMC-JSS Document 52 Filed 11/08/17 Page 2 of 4 PageID 613




   681 F.2d 732 (11th Cir. 1982).            In the absence of specific

   objections, there is no requirement that a district judge

   review factual findings de novo, Garvey v. Vaughn, 993 F.2d

   776, 779 n.9 (11th Cir. 1993), and the court may accept,

   reject or modify, in whole or in part, the findings and

   recommendations.      28 U.S.C. § 636(b)(1)(C).            The district

   judge reviews legal conclusions de novo, even in the absence

   of an objection.      See Cooper-Houston v. S. Ry. Co., 37 F.3d

   603, 604 (11th Cir. 1994); Castro Bobadilla v. Reno, 826 F.

   Supp. 1428, 1431-32 (S.D. Fla. 1993), aff’d, 28 F.3d 116 (11th

   Cir. 1994).

           The record reflects that the Magistrate Judge conducted

   a two-day evidentiary hearing and considered trial briefs,

   among     other   documents,   before      issuing   her    Report     and

   Recommendation.     Her Report and Recommendation thoroughly and

   thoughtfully addresses the issues presented and leaves no

   stone unturned.     She ultimately concluded “Because the United

   States,     not   Colombia,    is    M.A.Y.’s   habitual     residence,

   Petitioner cannot establish a prima facie case of Respondent’s

   wrongful retention of M.A.Y.” (Doc. # 49 at 13).                     After

   conducting a careful and complete review of the findings,

   conclusions and recommendations, and giving de novo review to

   matters of law, the Court accepts the factual findings and

                                       -2-
Case 8:17-cv-02100-VMC-JSS Document 52 Filed 11/08/17 Page 3 of 4 PageID 614




   legal   conclusions      of      the         Magistrate      Judge     and   the

   recommendation of the Magistrate Judge.                       The Report and

   Recommendation thoughtfully addresses the issues presented,

   and Petitioner’s arguments raised in his objection do not

   provide a basis for rejecting any aspect of the Report and

   Recommendation.

         Prior     to   resolving    this         case,   the     Court    ordered

   Respondent to surrender her passport as well as M.A.Y.’s

   passport   to    the   Clerk’s    office.         (Doc.   #    35).      Having

   determined that it is appropriate to deny the Petition, the

   Court directs the Clerk to return the passports to Respondent.

   Respondent shall come to the United States Courthouse by

   December 1, 2017, to obtain the passports.                Respondent should

   bring her Driver’s License and a copy of this Order with her

   and present these documents to the Clerk in order to receive

   the passports.

         Accordingly, it is now

         ORDERED, ADJUDGED, and DECREED:

   (1)   The Report and Recommendation (Doc. # 49) is ACCEPTED and

         ADOPTED.

   (2)   Petitioner’s Objection to the Report and Recommendation

         (Doc. # 50) is OVERRULED.



                                          -3-
Case 8:17-cv-02100-VMC-JSS Document 52 Filed 11/08/17 Page 4 of 4 PageID 615




   (3)   Petitioner’s Verified Petition for Return of the Child to

         Colombia (Doc. # 6) is DENIED.

   (4)   Respond shall come to the United States Courthouse by

         December 1, 2017, to retrieve her passport, as well as

         M.A.Y.’s passport.    The Clerk is directed to furnish the

         passports to Respondent upon Respondent’s presenting her

         Driver’s License and a copy of this Order.

   (5)   The Clerk shall close the case.

         DONE and ORDERED in Chambers in Tampa, Florida, this 8th

   day of November, 2017.




                                    -4-
